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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            2:12-CR-00180-MCE
12                 Plaintiff,                             PRELIMINARY ORDER OF
                                                          FORFEITURE
13          v.
14   MOHAMMAD SHAHBAZ KHAN,
15                 Defendant.
16
17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Mohammad Shahbaz Khan it is hereby ORDERED, ADJUDGED AND DECREED as
19 follows:
20          1.     Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), defendant Mohammad

21 Shahbaz Khan’s interest in the following property shall be condemned and forfeited to the United States
22 of America, to be disposed of according to law:
23                 a. Approximately $23,671.00 in U.S. Currency.
24          2.     The above-listed property constitutes or is derived from proceeds traceable to a violation

25 of 18 U.S.C. § 1341.
26          3.     Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

27 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.
28 Marshals Service, in its secure custody and control.
                                                     1
29                                                                             Preliminary Order of Forfeiture
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 1          4.      a.      Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(n), and Local

 2 Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and
 3 notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the
 4 Attorney General may direct shall be posted for at least 30 consecutive days on the official internet
 5 government forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable,
 6 provide direct written notice to any person known to have alleged an interest in the property that is the
 7 subject of the order of forfeiture as a substitute for published notice as to those persons so notified.
 8                  b.      This notice shall state that any person, other than the defendant, asserting a legal

 9 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the
10 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or
11 within thirty (30) days from the receipt of direct written notice, whichever is earlier.
12          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

13 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), in
14 which all interests will be addressed.
15          IT IS SO ORDERED.

16 Dated: February 11, 2015
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29                                                                                  Preliminary Order of Forfeiture
